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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

ROTHSCHILD BROADCAST               §
DISTRIBUTION SYSTEMS, LLC          §
                                   §
    Plaintiff,                     §                Case No: 2:17-CV-205-RWS
                                   §
vs.                                §                LEAD
                                   §
BELKIN INTERNATIONAL, INC.         §
                                   §
    Defendant.                     §
__________________________________ §

                       ORDER OF DISMISSAL WITH PREJUDICE
     .
         On this date, the Court considered Plaintiff Rothschild Broadcast Distribution Systems,

LLC’s Unopposed Motion to Amend Order Dismissing Case to a Dismissal with Prejudice.

Having considered the circumstances surrounding this matter, as well as the fact that the matter

stands fully resolved, the Court finds that the motion should be GRANTED.

         Therefore, IT IS ORDERED that all claims asserted by Rothschild Broadcast

Distribution Systems, LLC against Belkin International, Inc. are DISMISSED WITH

PREJUDICE, each party to bear its own fees and costs.

         SIGNED this 18th day of September, 2017.



                                                            ____________________________________
                                                            ROBERT W. SCHROEDER III
                                                            UNITED STATES DISTRICT JUDGE
